Case 1:20-cv-04432-BMC-VMS Document 28 Filed 02/10/21 Page 1 of 2 PageID #: 123




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


  RUBEN WILLS,                                     Hon. Brian M. Cogan

                           Plaintiff               CASE 1:20-cv-04432-BMC-VMS
         vs.

  MICROGENICS CORPORATION, ET AL.,                 DEFENDANT THERMO FISHER
                                                   SCIENTIFIC INC.’S NOTICE OF
                           Defendants              MOTION TO DISMISS PLAINTIFF’S
                                                   SECOND AMENDED COMPLAINT

                                                   ORAL ARGUMENT REQUESTED


        PLEASE TAKE NOTICE that Defendant Thermo Fisher Scientific Inc. shall move

 before the Honorable Brian M. Cogan, United States Judge, on a date and at a time to be set by the

 Court, for an Order pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure dismissing

 Plaintiff’s Second Amended Complaint for failure to state a claim upon which relief can be

 granted. Thermo Fisher shall also on said date join in Defendant Microgenics Corporation’s

 Motion to Dismiss Plaintiff’s Second Amended Complaint.

        PLEASE TAKE FURTHER NOTICE that Thermo Fisher Scientific Inc. shall rely upon

 the accompanying Memorandum of Law in support of its Motion, and upon the record and

 pleadings filed herein.
Case 1:20-cv-04432-BMC-VMS Document 28 Filed 02/10/21 Page 2 of 2 PageID #: 124




                                       Respectfully submitted,


 Dated: February 10, 2021.              s/Christopher R. Carton
                                       Christopher R. Carton (ID # CC0408)
                                       Erica Mekles (ID # EM1020)
                                       BOWMAN AND BROOKE LLP
                                       317 George Street, Suite 320
                                       New Brunswick, NJ 08901
                                       Telephone: (201) 577-5175
                                       chris.carton@bowmanandbrooke.com
                                       erica.mekles@bowmanandbrooke.com

                                       Attorneys for Defendant Thermo Fisher
                                       Scientific Inc.




                                       2
